Respectfully submitted to the Court:

        On the advice of counsel, I am providing this letter to explain various activities that took place
following my release from the Federal Prison Camp (FPC) at Atwater on February 28, 2018 as well as
throughout these violation proceedings.

        During my incarceration at FPC Atwater, I was provided the opportunity to reside at a Residential
Re-Entry Center in Fresno. Though I had never been to Fresno; had no ties, no family members, no
friends or other support system there; and despite the city placing nearly 200 miles of distance between
me and my closest relative, I accepted the opportunity to reside at the RRC, and entered upon my release
on February 28, 2018.

        A condition of continued residency at a RRC facility is continued unemployment, or regular
volunteer service in lieu of an employment opportunity. With only two months of residency, I quickly
accepted the opportunity to volunteer at a local food bank. For two months, I spent eight hours sorting,
packaging and distributing food intended for organizations that served as partners to the food bank. I was
commended for my work ethic during my time at the food bank.

         One week after returning home to Northern California, I accepted a job as a part-time news editor
for the Winters Express newspaper in Winters, California. As part of my job responsibilities, I was
expected to produce general assignment news stories. My first story published by the newspaper involved
an interview with Congressman John Garamendi over legislative action focused on a regional waterway
project.1 To my surprise, within hours of publication on the website, the story was quickly picked up by
the Associated Press, where Garamendi’s comments, sourced to the Express, were distributed to hundreds
of news outlets around the world.2

         My hiring at the Express came at a time of transition for the newspaper: Our long-time executive
editor, Debra DeAngelo, was retiring after more than 20 years, and her protégé, Julia Millon, was to be
elevated from city beat reporter to editor-in-chief. Tragically, two days before Debra was to retire, Julia
was killed in a car crash.3 Our newsroom was devastated, as was much of the community. Debra
maintained her retirement date, and our job duties were shuffled accordingly. I assumed Julia’s former job
responsibilities as city reporter along with my editor position.4

          One month later, the County Fire ignited in rural Yolo County. I was one of the first reporters on
the scene, providing live, visual updates through social media. A series of photographs I captured of the
fire in its infancy were published to the front pages of our newspaper’s sister publications, the Davis
Enterprise and the Fairfield-Suisun City Daily Republic. When the fire came to Winters, I helped provide

1
  “Garamendi Set to ‘Brawl’ over Tunnels Appropriation Bill.” The Winters Express, 15 May 2018,
https://matthewkeys.net/wp-content/uploads/2018/11/Clip-1-Garamendi-Tunnels-Small.pdf
2
  The Associated Press. “Spending Bill Would Ban Twin Tunnel Suits.” Chico Enterprise-Record, 16 May 2018,
www.chicoer.com/2018/05/15/spending-bill-would-ban-twin-tunnel-suits
3
  “‘We’ve Been Crying and Typing.’ Winters Newspaper Staff Mourns Reporter, 27, Killed in Crash.” The Sacramento Bee, 29
May 2018, www.sacbee.com/news/local/article212160169.html
4
  That September, I requested the company eliminate editing responsibilities from my position. The company accepted the
request, and I was reassigned to the role of general assignment reporter.


Statement of Matthew Keys (July, 2021)                                                                           1
around-the-clock coverage through our website. The event was a turning point for our publication, which
had largely been seen as a community bulletin but was now viewed by the local community as an
emerging, reputable journalistic publication.

         After the fire, I produced an investigative report on communication lapses between city and
county officials during the incident. Those lapses resulted in some local residents being told by officials
that they were not within an active fire evacuation zone when, in fact, they were.5 The story prompted city
and county officials to update their communication mechanisms and emergency notification systems.

        In December 2018, the newspaper published another investigative report that was focused on an
unsolicited offer made to the City of Winters through its city council by Valley Clean Energy, a
Community Choice Aggregation service that offers an energy source alternative to Pacific Gas & Electric.
A representative from Valley Clean Energy pitched the City on joining their CCA and requested a
$25,000 down payment to get the process going. City officials said they were interested, but wanted
additional information before they were willing to commit taxpayer money.

         For two months, I attended meetings, filed public records requests and interviewed sources as part
of an investigation into Valley Clean Energy’s practices. As reported, it was learned that Valley Clean
Energy was facing some financial turbulence due to an unfavorable decision by the California Public
Utilities Commission over a formulaic fee charged by PG&E to CCA customers. To offset that
turbulence, Valley Clean Energy sought to cut costs, eliminate a rate discount for CCA customers and
draw more cities and more customers into the collective. Their approach to Winters was one such element
of their strategy, and they were not fully forthcoming about the revenue changes they were making.

         The story was honored with a California Journalism Award6 for investigative reporting in 2019.
Four other works produced by me received California Journalism Awards, while one work received an
award nomination. All told, our newsroom received nine California Journalism Award nominations,
winning seven of those awards. The Winters Express was the most-decorated publication within the
company and received more awards than any other publication in Yolo County that year (including our
sister publication, the Davis Enterprise), and I received more individual awards than any other journalist
in the region.

         In February 2019, I began to produce a series of investigative reports on land development issues
that were spurred by complaints made by city council members over backdoor meetings held between the
city manager, a representative from a development firm and individual city council members. The city
officials said they were concerned those communications may have violated the Brown Act, and they
complained that they felt excluded from the process of scrutinizing development plans that were
apparently already in motion.

5
  The potential risk was made clear during an interview with City Manager John Donlevy several months later on an unrelated
topic. During the interview, Donlevy acknowledged that two neighborhoods where residents received the erroneous messages
were directly within the fire line. Those homes were ultimately spared by a last-minute shift in the wind pattern. Had the wind not
suddenly changed direction, Donlevy said the neighborhoods would likely have been destroyed.
6
  The California Journalism Awards are distributed by the California News Publishers Association, a trade association that
includes the Los Angeles Times, the Sacramento Bee, the San Francisco Chronicle, Capital Public Radio, KQED News and other
corporate and not-for-profit newsrooms.


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        As part of the investigation, I obtained and published documents that revealed then-City Manager
John Donlevy held several previously undisclosed meetings with the development representative and
provided him with access to draft proposals and reports on future development plans. Those documents
included a copy of an economic development report, development maps, and financial records that were
not previously disclosed. Some city council members became aware of the documents and meetings
through my reporting. The document cache also included a copy of a $12,000 check that the developer
provided to the city as part of its evaluation process. The payment had not been previously disclosed.

         The investigative reports spurred a grassroots movement within the community that led to a ballot
initiative called Measure A. The initiative sought to give city council members and the community greater
evaluation and decision-making powers over land development in Winters and its “sphere of influence.”
Voters approved the measure in November 2020.

         Shortly after the reports were published, I left the Winters Express newspaper for a higher paying
job at the business publication Comstock’s Magazine. During my time at the magazine, I continued my
enterprise reporting, producing a 4,000-word profile on the history and closure of Dimple Records, an
iconic, local music retailer. The profile won two California Journalism Awards in early 2020, 7 including a
first place award.8 Additionally, the Comstock’s website earned a California Journalism Award nomination
for general excellence.

         In January 2020, I offered my resignation to Comstock’s. Several months later, I started to
develop a media business through two self-published news sites, the first focused on the media industry
itself and the second providing updates on current events related to Solano County, California.

          The Solano County publication, now called Solano NewsNet, began to take off shortly after the
LNU Lightning Complex wildfire started in mid-August 2020. I was the first journalist to report on the
fire as it moved over the mountain range separating Napa County from Solano County and into the local
community, working late into the night to keep citizens informed on the fire’s progression and evacuation
notices as they were being issued.

        That effort did not go unnoticed: Several residents credited my updates with helping them learn
about critical fire-related information that ultimately led them to evacuate their homes. One resident,
Christina Rumbel, later told me her property suffered significant fire damage.9 Another resident, whom I
only know by the name Jessica, said she alerted her relatives about the fire, and that my reporting helped
ensure they were prepared to evacuate when a police officer came to their home early that morning.10

         The momentum that Solano NewsNet gained during the fire proved a need for fast, accurate,
digital-first reporting in the region, and in January, I announced plans to launch a digital newsroom. The
announcement was well-received by the community: To date, nearly 1,000 people have elected to receive

7
  The company initially did not want to submit works for award consideration, finding membership in the trade group to be
prohibitively expensive. It eventually agreed to submit various works, including the award-winning Dimple Records story, after I
offered to donate $1,200 to cover fee-related costs.
8
  It was the only first place award won by an individual writer at Comstock’s that year.
9
    See: https://twitter.com/Stina_May/status/1298653326767091713
10
     See: https://twitter.com/cimm42/status/1298669234415742977


Statement of Matthew Keys (July, 2021)                                                                                3
daily e-mail updates on Solano County news, 2,700 people have joined a Facebook group dedicated to
real-time news, and around 8,000 people have followed Solano NewsNet on Twitter. The majority of
high-ranking city and county officials are subscribers of the e-mail product, while the social media
services have support from a wide number of local officials, including Steve Young, the Mayor of
Benicia, California; Catherine Moy, a city council member with the City of Fairfield; and representatives
from the Vacaville Police Department, Vacaville Fire Department, Vacaville Fire Protection District,
Fairfield Police Department, Fairfield Fire Department, Suisun City Police Department, Vallejo Police
Department, Vallejo Fire Department, Crockett-Carquinez Fire Department, Montezuma Fire Protection
District, Solano County Office of Emergency Services, Solano County Sheriff’s Office, Kaiser
Permanente, Sutter Health and Pacific Gas & Electric.

         Solano NewsNet has led the regional effort to produce accountable, accurate digital journalism of
interest and importance. Over the last few months, I’ve produced stories that received praise by the
community and were franchised by other news outlets:

              ●    Photographs from a report on a vandalism spree at the Vacaville Police Department in
                   January 2020 were used during a news broadcast on KXTV (Channel 10) in Sacramento,
                   and information published by Solano NewsNet was cited by Newsweek11;
              ●    Video from February 2020 showing the scene of a fatal shooting in Fairfield was
                   syndicated to KPIX-TV (Channel 5) and KCBS-AM in San Francisco;
              ●    The San Francisco Chronicle sourced12 Solano NewsNet as the publisher of police
                   dispatch audio in which it was revealed that Vacaville police officers knew a teenage
                   suspect was autistic before an officer punched him on camera (the incident was captured
                   on a neighbor’s surveillance camera system, video of which was obtained by me)

      Additionally, in March 2021, Congressman Garamendi chose Solano NewsNet to publish a public
commentary on the “American Rescue Plan,” which he supported.13

         Currently, I serve in the role of publisher, editor and reporter for Solano NewsNet, and it is my
hope that as the service grows, I will be able to launch a full-featured website14, incorporate it as a
business, hire employees and freelancers and create additional media partnerships that help tell the stories
of Solano County to a broader audience. Those plans have been significantly delayed due to the ongoing
legal situation, and the outcome of this case will largely decide the fate of the service going forward.

                                                                                                                     Sincerely,

                                                                                                               Matthew Keys


11
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Statement of Matthew Keys (July, 2021)                                                                                 4
